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                  CASES TO BE TRANSFERRED FROM THE DOCKET OF
             CHIEF JUDGE BARBARA M.G. LYNN TO JUDGE BRANTLEY STARR
1    3:17-CV-02086-M      Stiel v. Imhof, et al.
2    3:17-CV-02713-M      Capio Funding LLC v. Rural/Metro Operating Company LLC, et al.
3    3:17-CV-03284-M      Perkins v. Elettric 80 Inc., et al.
4    3:18-CV-00087-M      James R Reis 1999 Revocable Living Trust, et al. v. Citibank NA
5    3:18-CV-00731-M      MCR Oil Tools LLC v. Spex Group US LLC, et al.
6    3:18-CV-00811-M      Ramachandran v Jain, et al.
7    3:18-CV-01345-M      Murphy Oil USA Inc. v. Loves Travel Stops & Country Stores Inc., et al.
8    3:18-CV-01462-M      Franklin v. Offord, et al.
9    3:18-CV-01746-M      Cummings v. Neighborhood Assistance Corporation of America
                          Great American Insurance Company v. Employers Mutual Casualty Company,
10   3:18-CV-01819-M      et al.
11   3:18-CV-01968-M      Mulvey v. Kennedy, et al.
12   3:18-CV-02101-M      Alexander v. Brown
13   3:18-CV-02175-M      Sievert v. Howmedica Osteonics Corp., et al.
14   3:18-CV-02268-M      Deville v. Collecto, Inc.
15   3:18-CV-02327-M      Alfaro v Dallas Backup Inc., et al.
                          Building Materials Manufacturing Corporation v. United Steelworkers International
16   3:18-CV-02606-M      Union on Behalf of its Local 00759.
17   3:18-CV-02818-M      Morgan v. Chef Blythe’s Southern Bistro, Inc., et al.
18   3:18-CV-02864-M      Howell Family Trust DTD 01/27/2004 v. Greenlaw, et al.
19   3:18-CV-03020-M      Rodgers v. Landscape Structures
20   3:18-CV-03097-M      Brooks v. United Development Funding III, et al.
21   3:18-CV-03101-M      Whitfield v. Platt, et al.
22   3:18-CV-03142-M      National Utility Service, Inc. v. Singularity, Inc.
23   3:18-CV-03310-M      Lifshen v. 20/20 Accounting Solutions LLC
                          Couture Hotel Corporation; Wyndham Garden Hotel v. Those Certain Underwriters at
24   3:19-CV-00021-M      Lloyd's London
25   3:19-CV-00219-M      MA Leg Partners 1 v City of Dallas
26   3:19-CV-00355-M      United States of America v. Melby, et al.
                          The Cincinnati Specialty Underwriters Insurance Company v. U.S. Polyco, Inc.,
27   3:19-CV-00421-M      et al.
28   3:19-CV-00662-M      TM Housing Construction Inc. v. City of Quinlan
29   3:19-CV-00755-M      Russell v. Mr. Cooper Group, Inc., f/k/a Nationstar Mortgage, LLC
30   3:19-CV-01059-M      Frausto v. Southwest Airlines
31   3:19-CV-01468-M      Gilley, et al. v. ThyssenKrupp AG, et al.
32   3:19-CV-01562-M      EMC Mortgage, LLC v. American Bancshares Mortgage, LLC
33   3:19-CV-01597-M      Fitzgerald v. Standard Insurance Company
34   3:19-CV-01754-M      Rouse v. Glast Phillips & Murray PC
35   3:19-CV-02061-M      HomeVestors of America, Inc. v. Harrison, et al.
                   CASES TO BE TRANSFERRED FROM THE DOCKET OF
                   JUDGE SAM A. LINDSAY TO JUDGE BRANTLEY STARR
36   3:17-CV-02569-L      Equal Employment Opportunity Commision v. Tim Shepherd MD PA
37   3:17-CV-03265-L      Bluevine Capital, Inc. v. UEB Builders, Inc.
38   3:17-CV-03300-L      MBA Engineering Inc. v. Vantage Benefits Administrators Inc., et al.
39   3:18-CV-00110-L      Kovac, et al. v. Wray, et al.
40   3:18-CV-00534-L      Securities and Exchange Commission v Americrude Inc., et al.
41   3:18-CV-01088-L      Mickey Redmond & Co v. Morbern Inc., et al.
42   3:18-CV-01091-L-BN   Lopez, et al. v. Fun Eats and Drinks LLC
43   3:18-CV-01362-L      Campos, et al. v. HMK Mortgage LLC
44   3:18-CV-01393-L      Gemini Insurance Company v. Choice Exploration Inc.
45   3:18-CV-01628-L      State Farm Life Insurance Company v. Bryant, et al.
46   3:18-CV-02067-L      Peak, et al. v. Zion Oil & Gas Inc., et al.
47   3:18-CV-02119-L      Tauren Exploration, Inc. Liquidating Trust, et al. v. Pandale Holdings Inc., et al.
48   3:18-CV-02250-L      GFRS Equipment Leasing Fund II LLC v. Nguyen, et al.
49   3:18-CV-02728-L      Newport RE Group LLC, et al. v. Mayer, et al.




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                    JUDGE SAM A. LINDSAY TO JUDGE BRANTLEY STARR
50    3:18-CV-02779-L      Vollara LLC v Ecotechworld Inc., et al.
51    3:18-CV-03301-L      Barker, et al. v. Glendontodd Capital LLC
52    3:19-CV-00001-L      Baskett, et al. v. Rhone, et al.
53    3:19-CV-00470-L      Falcon Insurance Company v. Borlay, et al.
54    3:19-CV-00716-L      Burks v. 1and2 Automotive LLC, et al.
55    3:19-CV-00744-L      Mitchell v. Dallas County Texas, et al.
56    3:19-CV-00764-L      VeroBlue Farms USA Inc. v. Wulf, et al.
57    3:19-CV-00822-L      Machol v. Southwest Officials Association Inc., et al.
58    3:19-CV-00970-L      Computer Sciences Corporation v. Tata Consultancy Services Ltd, et al.
59    3:19-CV-01019-L      Golabs Inc. v. Hangzhou Chic Intelligent Technology Co Ltd, et al.
60    3:19-CV-01141-L      Sealed v. Sealed
61    3:19-CV-01164-L      Morrison, et al. v. City of Carrollton, et al.
62    3:19-CV-01263-L      Brennan, et al. v. City of Mesquite Texas, et al.
63    3:19-CV-01348-L      Signature Financial LLC vs. John McClung
64    3:19-CV-01523-L      Jaye, et al. v. Crane Merchandising Systems Inc., et al.
65    3:19-CV-01529-L      Ramirez, et al. v. City of Arlington Texas, et al.
66    3:19-CV-01617-L      Hansen Helicopters Inc., et al. v. Dymock, et al.
67    3:19-CV-01636-L      Oviedo, et al. v. Admiral Linen and Uniform Service, et al.
68    3:19-CV-01644-L      Xu v. Reed Wealth Real Estate LLC, et al.
69    3:19-CV-01681-L      Neukranz v. Conestoga Settlement Services LLC, et al.
70    3:19-CV-01769-L      Tarpeh v. Branch Banking and Trust Company
                    CASES TO BE TRANSFERRED FROM THE DOCKET OF
                   JUDGE DAVID C. GODBEY TO JUDGE BRANTLEY STARR
71    3:17-CV-2249-N-BH    Li v. Verizon Wireless Texas LLC, et al.
72    3:17-CV-03472-N-BT   Miller v. Wells Fargo Bank NA
73    3:18-CV-463-N        USA, et al. v. Dental Health Programs Inc., et al.
74    3:18-CV-536-N        Summit Alliance Financial LLP v. Transamerica Life Insurance Company, et al.
75    3:18-CV-1023-N       Siegel, et al. v. Compass Bank
76    3:18-CV-1489-N       Humphreys & Partners Architects, LP v. Realty Capital Corp., et al.
77    3:18-CV-1849-N-BH    Reyes-Segura v. USA
78    3:18-CV-2113-N       Sanchez v. Hard Rock Cafe International (STP) Inc., et al.
79    3:18-CV-2320-N       Davidson v. US Department of Homeland Security, et al.
80    3:18-CV-2738-N       Manns v. Gateway Mortgage Group, LLC
81    3:18-CV-2979-N       Bradley v. SSG, Inc.
82    3:18-CV-3140-N       Kendrick v. Brookville Equipment Corporation, et al.
83    3:18-CV-3230-N       Alexander v. Dex Media Inc.
84    3:19-CV-171-N        Brinker International Payroll Company, LP v. Hospitality International LLC, et al.
85    3:19-CV-318-N        Gillihan v. S & L Vineyards Inc., et al.
86    3:19-CV-332-N        Freeman v. Valdez, et al.
87    3:19-CV-481-N        Ticer v. Imperium Insurance Company, et al.
88    3:19-CV-604-N        Becoats v. Deutsche Bank Trust Company Americas, et al.
89    3:19-CV-781-N        Lowure v. Midwest Logistics Systems Ltd et al.
90    3:19-CV-785-N        Smith, et al. v. GLN, LP, et al.
91    3:19-CV-844-N        Allstate Fire and Casualty Insurance Company v. Bradford White Corporation
92    3:19-CV-986-N        Mobley, et al. v. Edward Sloan and Associates, Inc.
93    3:19-CV-1155-N-BK    Coleman v. United States Postmaster General, et al.
94    3:19-CV-1241-N       INDMEX, Inc. v. FreeFlight Acquisition Corporation
95    3:19-CV-1260-N       Xu v. Civitas West Village Fund GP LP
96    3:19-CV-1321-N       Bernal v. Foster, et al.
97    3:19-CV-1381-N       Cunningham et al. v. Gunnels et al.
98    3:19-CV-1467-N       Tuesday Morning Partners Ltd., et al. v. Ollie's Bargain Outlet Inc., et al.
99    3:19-CV-1541-N       Villalba Martinez et al. v. Nationwide General Insurance Company
100   3:19-CV-1591-N       Sealed v. Sealed
101   3:19-CV-1674-N       Aragon v. Westrock Services LLC




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                    CASES TO BE TRANSFERRED FROM THE DOCKET OF
                   JUDGE DAVID C. GODBEY TO JUDGE BRANTLEY STARR
102   3:19-CV-1704-N        Brannian v. Esurance Insurance Company
103   3:19-CV-1773-N-BK     Hamilton v. USA
104   3:19-CV-1856          Herbert v. LTC Delivery LLC, et al.
105   3:19-CV-1867          Belmonte, et al. v. MedStar Mobile Healthcare, et al.
                       CASES TO BE TRANSFERRED FROM THE DOCKET OF
                        JUDGE ED KINKEADE TO JUDGE BRANTLEY STARR
106   3:18-CV-1259-K        Hanson v. City of Dallas, et al.
107   3:18-CV-1265-K        Ark Corporate Member Limited v. AEU Benefits LLC, et al.
108   3:18-CV-1611-K        CenturyLink Communications LLC v. PowerSecure Inc.
109   3:18-CV-1734-K        Flick v. Caufield, et al.
110   3:18-CV-1776-K        Rojas v. City of Grand Prairie, et al.
111   3:18-CV-1957-K        In re Forterra, Inc. Securities Litigation
112   3:18-CV-3232-K        Reeves v. Carson, et al.
113   3:18-CV-3276-K        Aperia Solutions Inc. v. OLB Group Inc.
114   3:18-CV-3330-K        Hampton v. Williams, et al.
115   3:19-CV-120-K         Abboud v. Agentra LLC
116   3:19-CV-589-K         Clark, et al. v. Branch Banking & Trust Co.
117   3:19-CV-959-K         Sims, et al. v. Allstate Texas Lloyds, et al.
118   3:19-CV-1014-K        Whitaker v. Envolve PeopleCare Inc., et al.
119   3:19-CV-1364-K        National Union Fire Insurance Company of Pittsburgh PA v. BTX Global Logistics et
120   3:19-CV-1421-K        Afshani v. Spirit Realty Capital Inc., et al.
121   3:19-CV-1438-K        McGriff Insurance Services Inc. v. Clark, et al.
122   3:19-CV-01568-K       Richard v. Zabojnik, et al.
123   3:19-CV-1605-K        Paragon Hemophilia Solutions LLC, et al. v. Humana Inc., et al.
124   3:19-CV-1632-K        Diaz-Alcaraz v. Bank of America NA
125   3:19-CV-1735-K        Wisdom v. BRG Management Inc.
126   3:19-CV-1811-K        Davidson v. Shogun in Greenville Inc., et al.
127   3:19-CV-1832-K        Luxottica Group SpA v. AMZ Buckner Corp., et al.
128   3:19-CV-1843-K        Lawrence, et al. v. Frost Bank
129   3:19-CV-1932-K        Varsity Spirit LLC, et al. v. Commemorative Brands Inc., et al.
                       CASES TO BE TRANSFERRED FROM THE DOCKET OF
                       JUDGE JANE J. BOYLE TO JUDGE BRANTLEY STARR
130   3:17-CV-1147-B        Basic Capital Management Inc., et al. v. Dynex Capital Inc., et al.
131   3:17-CV-2909-B        RInc.on v. Home Depot USA, Inc.
132   3:17-CV-2942-B        Lindsley v. TRT Holdings, Inc., et al.
                            United States of America v. $73,947.35 in United States currency from JP Morgan
133   3:18-CV-0213-B        Chase bank account X1558 in the name of American Info Inc., et al.
134   3:18-CV-0356-B        Rosales v. Equinox Holdings Inc.
135   3:18-CV-0380-B        Hall CA-NV LLC v. Old Republic National Title Insurance Company
136   3:18-CV-1125-B        Deutsche Bank National Trust Company v. Reddick, et al.
137   3:18-CV-1145-B        Mosley-Lovings v. AT&T Corp., et al.
138   3:18-CV-1337-B        Sanchez v. QuikTrip Corporation, et al.
                            Dillon Gage Inc.orporated of Dallas v. Certain Underwriters at Lloyds Subscribing to
139   3:18-CV-1555-B        Policy No EE1701590
                            Freedom at Home Dialysis LLC v. United States Office of Personnel
140   3:18-CV-1698-B        Management
141   3:18-CV-1708-B        Rueda v. Facility Interiors, Inc.
142   3:18-CV-1742-B        Jeffery, et al. v. TIAA-CREF Individual & Institutional Services LLC
143   3:18-CV-1788-B        Collins v. Safeco Insurance Company of Indiana
144   3:18-CV-1904-B        Montanez v. United Parcel Service Inc.
145   3:18-CV-2165-B        Richardson v. Kroger Texas LP
146   3:18-CV-2192-B        Nuss v. City of Seven Points, Texas
147   3:18-CV-2255-B        Rivera v. Kroger Texas LP
148   3:18-CV-2659-B        Ventura v. Professional Frame and Home, et al.




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                       CASES TO BE TRANSFERRED FROM THE DOCKET OF
                       JUDGE JANE J. BOYLE TO JUDGE BRANTLEY STARR
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150   3:18-CV-3165-B        Sanders, et al. v. The Boeing Company
151   3:18-CV-3297-B        Falcon Insurance Company v. Molina, et al.
152   3:18-CV-3416-B        Bank of America NA v. Vandenburg, et al.
153   3:19-CV-0069-B        Aikens v. Cedar Hill Independent School District
154   3:19-CV-0330-B        Singleton, et al. v. Liberty County Mutual Insurance Company, et al.
155   3:19-CV-0398-B        Lall, et al. v. Powers, et al.
156   3:19-CV-0410-B        Pierce v. North Dallas Honey Company
157   3:19-CV-0440-B        Berry v. PreCC Inc., et al.
158   3:19-CV-0851-B        Siemers v. Jordan Health Care Inc.
159   3:19-CV-1318-B        Boy Scouts of America, et al. v. The Hartford Accident and Indemnity Company, et al.
160   3:19-CV-1375-B        Quinones v. Community Waste Disposal LP
161   3:19-CV-1551-B        Sadler, et al. v. Greenville Independent School District
162   3:19-CV-1606-B        Mims v. All Seas, Ltd.
163   3:19-CV-1642-B        Pediatric Nursing Certification Board v. Gilliland Associates Inc., et al.
164   3:19-CV-1877-B        Alpha Media LLC v. Matrix Broadcasting LLC, et al.
                   CASES TO BE TRANSFERRED FROM THE DOCKET OF
                JUDGE KAREN GREN SCHOLER TO JUDGE BRANTLEY STARR
165   3:17-CV-00332-S       Jefferies LLC v. WTW Investment Company LTD, et al.
166   3:17-CV-00336-S       Fracalossi v. MoneyGram Pension Plan, et al.
167   3:17-CV-01424-S-BK    Dawes v. City of Dallas, et al.
168   3:17-CV-02278-S       Carter v. Transport Workers Union of America Local 556
169   3:17-CV-02989-S       USA v. $4,480,466.16 in funds seized from Bank of America account ending in 2653,
170   3:17-CV-03190-S       Sealed v. Sealed
171   3:17-CV-03376-S       JetPay Corporation v. USA
172   3:18-CV-00007-S       Block v. Interoil Corporation, et al.
173   3:18-CV-00425-S       Angelina Emergency Medicine Assocs PA, et al. v. Health Care Service Corp.
174   3:18-CV-00555-S       Beckum v. Swift Response
175   3:18-CV-00831-S       Adamson v. American Airlines Inc.
176   3:18-CV-00880-S       Platinum Jack Entertainment LLC v. ESPN Inc., et al.
177   3:18-CV-01338-S       Chun v. Fluor Corporation, et al.
178   3:18-CV-01443-S-BK    Brigida v. Valk
179   3:18-CV-01990-S       Stillwater Bridge Capital, LLC v. Evangel World Prayer Center of Kentucky, Inc.
180   3:18-CV-02479-S       Dennison v. KRGP Inc., et al.
181   3:18-CV-02935-S       Jackson v. Valdez, et al.
182   3:18-CV-03013-S       Crabb v. Allstate Texas Lloyds
183   3:18-CV-03152-S       Solis v. Ellis County Sheriff's Office
184   3:18-CV-03268-S-BK    Angels of Care Home Health v. Azar
185   3:18-CV-03306-S       Riney v. Lockheed Martin Corporation
186   3:19-CV-00157-S-BK    Chae v. American Fidelity Assurance
187   3:19-CV-00373-S       Arch Ins. Co. v. Nat'l Fire Ins. Co. of Hartford, et al.
188   3:19-CV-00400-S       Jet Underground Utilities Inc. v. Dade Equipment Inc.
189   3:19-CV-00415-S       In re MoneyGram Int'l Inc. Derivative Litigation
190   3:19-CV-00444-S       Kaplan v. Holmes, et al.
191   3:18-CV-03259-S       Brown v. AW Brown Fellowship Leadership Academy
192   3:19-CV-00722-S       Horizon AG-Products LP v. Verdesian Life Sciences US LLC
193   3:19-CV-00914-S       Al Janabi, et al. v. Homeland Security Department, et al.
194   3:19-CV-01138-S       Stephens v. Verizon Wireless Texas LLC
195   3:19-CV-01188-S       Phazr Inc. v. Ramakrishna
196   3:19-CV-01242-S       Edokpayi v. Barr
197   3:19-CV-01492-S       Lane v. United States
198   3:19-CV-01875-S       Wilson v. State Farm Mutual Automobile Insurance Company, et al.
199   3:19-CV-01968-S       Nayyar v. Bierman, et al.




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                     JUDGE A. JOE FISH TO JUDGE BRANTLEY STARR
200   3:17-CV-01403-G-BN   Double Diamond Delaware Inc. v. Homeland Insurance Company of New York
201   3:18-CV-00183-G-BK   Roberts v. Dallas ISD
202   3:18-CV-00634-G      Scott v. Navarro College District
203   3:18-CV-01463-G-BN   System Beauty LLC et al. v Dallas Waste Disposal & Recycling Inc. et al.
204   3:18-CV-01695-G-BH   Freedom at Home Dialysis LLC v. Health Care Service Corporation
205   3:18-CV-02089-G      Davis v Exel Inc.
206   3:18-CV-02328-G      Bush v. Ford Motor Credit Company, LLC
207   3:18-CV-02743-G      Martin Marietta Materials Inc. v. OHL USA Inc.
208   3:18-CV-03040-G      Hodge v. The Bank of New York Mellon et al.
209   3:18-CV-03194-G      AIG Property Casualty Company v. Riddick et al.




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